          Case 4:13-cv-40097-TSH Document 6 Filed 03/27/14 Page 1 of 2



UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

                                           :
Tammy Duquette,                            :
                                           :            Civil Action No.: 4:13-cv-40097-TSH
                    Plaintiff,             :
        v.                                 :
                                           :
Law Office of Mandy L. Spaulding; and DOES :
1-10, inclusive,                           :
                                           :
                    Defendant.             :
                                           :


           NOTICE OF WITHDRAWAL OF COMPLAINT AND VOLUNTARY
                   DISMISSAL OF ACTION WITH PREJUDICE
                          PURSUANT TO RULE 41(a)

       Tammy Duquette (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the complaint
and voluntarily dismisses this action, with prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated: March 27, 2014

                                                      Respectfully submitted,

                                                      By: /s/ Sergei Lemberg

                                                          Sergei Lemberg, Esq.
                                                          BBO No.: 650671
                                                          Lemberg Law, L.L.C.
                                                          1100 Summer Street, 3rd Floor
                                                          Stamford, CT 06905
                                                          Telephone: (203) 653-2250
                                                          Facsimile: (203) 653-3424
                                                          Attorneys for Plaintiffs
          Case 4:13-cv-40097-TSH Document 6 Filed 03/27/14 Page 2 of 2



                               CERTIFICATE OF SERVICE

       I hereby certify that on March 27, 2014, a true and correct copy of the foregoing Notice
of Withdrawal was served electronically by the U.S. District Court for the District of
Massachusetts Electronic Document Filing System (ECF) and that the document is available on
the ECF system.

                                            By_/s/ Sergei Lemberg_________

                                                 Sergei Lemberg
